   Case: 1:14-cv-02280 Document #: 459 Filed: 02/10/20 Page 1 of 6 PageID #:8836




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 COUNTY OF COOK,

                       Plaintiff,
                                                      Case No. 14 C 2280
        v.
                                                      Magistrate Judge Sunil R. Harjani
 BANK OF AMERICA CORPORATION,
 et al.
               Defendants.

                                              ORDER

        In its Motion to Compel the Production of Documents [419], Plaintiff Cook County seeks
production of five categories of information. The relevant document requests at issue that
correspond with these five areas are identified in the County’s Motion. After reviewing the
briefing and considering the relevancy and proportionality requirements of Federal Rule of Civil
Procedure 26, the Court grants in part and denies in part the County’s Motion to Compel [419] to
the extent stated in this Order.

                                          STATEMENT

        First, the County seeks documents concerning Defendants’ practices and procedures for
marketing to potential borrowers in Cook County, including how Defendants identified persons to
target for marketing and to send pre-screened marketing solicitations. Defendants represent that
they have produced thousands of marketing-related materials and argue that no additional
marketing materials should be produced.

         As to pre-screening marketing materials, Defendants contend that they possess no
responsive documents. Defendants rely on the Declaration of Nathan May, a Bank of America
Senior Vice President of Home, Auto, and Small Business Marketing, explaining that neither Bank
of America nor Countrywide pre-screened for residential mortgage loan products from 2004-2014
based on potential borrowers’ race or ethnicity, or based on census tract, zip code, county, or state.
Defendants’ interpretation of the County’s requests is too narrow. The County’s requests are not
limited to documents showing that Defendants’ prescreening marketing was based directly on race
or ethnicity or based solely on race and ethnicity. Nor are the County’s requests limited to
marketing campaigns “where the target group hoped to be reached was African American or
Hispanic.” Doc. 453-1. The County’s requests also seek information about prescreening marketing
criteria which could be a proxy for race. The County’s reply brief highlights a FICO Score
example. In the context of residential mortgage loan products, race-neutral criteria used for
prescreening consumers to target with specific marketing campaigns, other than geographic
location, could serve as a proxy for race or ethnicity. In order to assess whether any of Defendants’
prescreening marketing criteria was a proxy for race or ethnicity, discovery of Defendants’
   Case: 1:14-cv-02280 Document #: 459 Filed: 02/10/20 Page 2 of 6 PageID #:8837




practices and procedures for prescreening consumers for specific marketing in Cook County for
the relevant time period is highly relevant and proportional to the needs of the case. Therefore,
Defendants may not limit their production to only those prescreening marketing documents based
directly on race or ethnicity or to criteria they unilaterally believe could be used as a proxy for race
or ethnicity. The County’s motion to compel is granted to the extent it seeks documents relating
to the criteria used for prescreening to identify persons from a particular group that were marketed
to within Cook County.

        As to other types of marketing material sought by the County, Defendants states that “there
is nothing to compel because Defendants have produced or have committed to produce all
responsive documents available in their records and in the ESI collected in this case.” Doc. 429 at
2. The Court agrees with the County that the current record belies Defendants’ assertion that they
have produced or committed to produce all responsive documents available. In their production
letter dated November 30, 2010, Defendants stated that they produced “a sampling of a variety of
marketing documents” that they were able to locate after a reasonably diligent search, including a
“screenshot” of a website and a “description” of some marketing material. By email dated
November 16, 2019, Defendants similarly offered to produce only a “sample” and “descriptive
information” about the marketing materials sought by the County. Defendants have provided no
legitimate basis for limiting its production of marketing documents to a “sampling” and
“description” of responsive marketing documents. Defendants are therefore directed to produce
all responsive marketing documents for the relevant period that they were able to locate after a
reasonably diligent search.

        Further, the Court rejects Defendants’ request to limit the production of any additional
marketing materials to Countrywide from the 2004-2008 time period. As the County points out,
Countrywide is not the only defendant in this case and the County “does not expressly limit
Defendants’ origination and marketing practices at issue in this case to only 2004-2008 anywhere
in the Complaint.” Doc. 447 at 5. However, the Court is not ordering Defendants to restart the ESI
process by collecting ESI from new custodians as a result of proportionality concerns given the
substantial burden it would place on the Defendants, now more than 5 years into this case and
several years into fact discovery, and the substantial time and expenses associated with that
process. Defendants shall conduct the above searches in their available records and in the ESI
collected in this case.

        Second, the County seeks to compel production of training materials for two categories of
employees: (1) employees responsible for underwriting, including granting underwriting
exceptions or overrides and (2) employees responsible for determining whether or not to foreclose
on 1-4 family residential mortgage loans. Defendants do not dispute the relevancy of the training
materials the County seeks. After carefully considering all the circumstances here, Defendants
shall search the universe of already-collected ESI documents, which the Court understands is over
9 million documents, for training materials for underwriting/exceptions/overrides from 2003-2008
and foreclosure from 2006-2012 and produce any responsive training material. If the County
believes it needs additional training materials after this production, the parties shall meet and
confer to try to reach an agreement as to any additional training materials sought by the County on
a narrowed basis. As they offered, Defendants shall also produce training materials for these two
categories of employees from their central repository of training materials, which will cover the

                                                   2
   Case: 1:14-cv-02280 Document #: 459 Filed: 02/10/20 Page 3 of 6 PageID #:8838




2012-2014 time period. Accordingly, the motion to compel is denied as to pre-2012 training
materials outside the already-collected ESI documents. Once again, the case is now over 5 years
old, and document production has been occurring for several years. The burdens of continued
document production are significant, and at this time and on this record, not proportional to the
needs of the case.

        Third, the County seeks information reflecting whether any third-parties reimbursed any
of the fees Defendants paid to the County in order to rebut Defendants’ affirmative defense of set-
off. Defendants oppose this portion of the County’s motion on relevance, burden, and
proportionality grounds. As to relevance, Defendants argue that the reimbursement data sought
by the County is irrelevant because for compensatory damages it only matters whether the County
was paid the fee. According to Defendants, whether they or a third-party was the ultimate source
of fee payments to the County is legally irrelevant. The County responds that Defendants are not
entitled to claim as offsets the amount of those offsets that they recouped, or were reimbursed,
from third-parties under the collateral source rule.

         In a similar FHA case brought by the County against Wells Fargo, Judge Feinerman
recently held that reimbursements from borrowers for fees Defendants paid to Cook County are
“irrelevant” because “the compensatory damages inquiry focuses on the plaintiff’s ledger, not the
defendant’s.” Case No. 14 C 9548, Doc. 320 at 5. This Court agrees with Judge Feinerman’s
reasoning that fees Defendants recouped from borrowers or other third-parties are irrelevant to the
determination of the County’s claim for compensatory damages because the purpose of
compensatory damages is to make the plaintiff whole. The County also argues that if “Defendants
passed the fees onto borrowers but Defendants still get to use those fee amounts to reduce their
liability, it would result in an inequitable windfall to Defendants.” Doc. 447 at 14. But, the County
cites no authority indicating that Defendants’ alleged windfall from recoupment is relevant to a
determination of the County’s compensatory damages. As Judge Feinerman similarly found
regarding the County’s equitable concerns, the fact that Wells Fargo “may have been a bad actor
in violating the FHA, is irrelevant for present purposes because the compensatory damages inquiry
focuses on the financial consequences to the plaintiff of the defendant’s bad acts.” Case No. 14 C
9548, Doc. 320 at 5.

         Judge Feinerman also rejected the County’s attempt to “characterize the consideration of
its foreclosure-related revenues as a ‘set-off’ or as coming from a collateral source” as “groundless
because those revenues do not arise from a separate or collateral transaction, but instead are
inextricably intertwined with the allegedly wrongful foreclosure practices at the heart of its FHA
claims against Wells Fargo.” Id. at 5-6. In the context of its current motion, the County
characterizes the offsets Defendants recouped from third-parties as coming from a collateral
source. The collateral source law cited by the County does not support its argument that fees
Defendants recouped from third-parties is relevant to the FHA compensatory damages calculation.
Under the collateral source rule, “payments made to or benefits conferred on the injured party from
other sources are not credited against the tortfeasor’s liability,” Wills v. Foster, 892 N.E.2d 1018,
1022 (Ill. S.Ct. 2008). But that is not the situation here. The County did not receive a payment or
benefit from a third party independent of Defendants and any compensatory damages award in this
case will not be reduced by any reimbursements for fees that Defendants received from the
borrowers or other third-parties. In other words, the fact that some of the fees paid to the County

                                                 3
   Case: 1:14-cv-02280 Document #: 459 Filed: 02/10/20 Page 4 of 6 PageID #:8839




may ultimately have been paid by third-parties and not Defendants will not itself reduce any
compensatory damages otherwise recoverable from Defendants. For all these reasons, the Court
sustains Defendants’ relevancy objection to production of the reimbursement information the
County seeks.

        Fourth, as narrowed by the County, the County seeks post-funding quality reviews related
to: (1) fair housing and fair lending laws and (2) non-performing loans in pools of loans that
include loans in Cook County. As to the first category, Defendants do not dispute the relevancy
of the quality reviews related to compliance with fair housing and fair lending laws. These
documents are highly relevant because they are probative of Defendants’ fair housing and fair
lending compliance, which goes to the heart of this case alleging violations of those same laws.
However, Defendants claim that production of responsive documents would be disproportionate
to the needs of the case. Defendants argue that identifying the quality review files for loans
originated in Cook County from the 2004-2014 time period “could take up to 340 hours” followed
by some “additional time to manually pull the results” of the process. Defs’ Opp. at 11. In
weighing the proportionality factors, the Court finds that the burden of producing quality reviews
related to fair housing and fair lending laws is not insubstantial but does not outweigh the likely
benefit and is not disproportionate, given the high relevance of quality reviews related specifically
to fair housing and fair lending laws, the importance of the issues at stake in this case, the
significant amount of damages in controversy, the County’s lack of access to the materials through
any other source than Defendants, and Defendants’ substantial resources as compared to the
County. See Fed. R. Civ. P. 26(b)(1).

        As to the second category, Defendants’ relevancy objection to post-funding quality reviews
related to defaulted loans for the 2013-2014 time period is sustained. Defendants presumably
performed internal quality reviews for non-performing loans for a variety of reasons wholly
unrelated to fair housing and fair lending law compliance, and the County does not explain why
Defendants’ post-funding quality reviews which are not limited to or focused on compliance with
fair housing and fair lending laws are relevant to its case. Defendants state that determining which
loan review project from 2013-2014 included reviews of defaulted loans would take at least 300
hours to complete. Because of the minimal, if any, potential relevance of the quality reviews
related to defaulted loans, the Court concludes this request is not proportional to the needs of the
case.

         Fifth, the County seeks Defendants’ policies with respect to document and data retention
and litigation holds imposed as a result of governmental investigations and Defendants’ knowledge
and understanding of the legal and/or regulatory requirements regarding accessing current and
historical loan origination and servicing data. Defendants object on relevancy and burden grounds
and argue that litigation hold documents are protected from disclosure by the attorney-client and
work product protections.

        On this record, there is no evidence of destroyed loan data. On December 6, 2019, Justin
Dahl filed a declaration explaining that after an extensive search involving over 150 hours of
investigation, he concluded that any remaining missing “data fields do not exist and have never
existed in Bank of America’s data records.” Doc. 407-1 at ¶ 21. Mr. Dahl also confirmed that a
cross-department search team of “over 15 Bank of America employees with collective experience

                                                 4
   Case: 1:14-cv-02280 Document #: 459 Filed: 02/10/20 Page 5 of 6 PageID #:8840




in … all relevant aspects of Bank of America’s data systems and databases” did not uncover “any
instances in which data that remains missing had been collected, but was later destroyed.” Id. at
¶¶ 8, 22.

        Putting aside the borrower and loan data, the County argues that Defendants’ relevancy
objection is undermined by the declaration of Marty Bridges concerning quality reviews on
defaults outside of the two-year period of 2013-2014 and the declaration of Nathan Mays regarding
certain marketing material. As to Mr. Bridges, the Court has denied the County’s motion to compel
post-funding quality reviews on defaults because the County failed to show that its requests seek
information relevant to its fair housing and fair lending claims. Therefore, the unavailability of
quality reviews on defaults from 2004-2012 does not justify production of Defendants’ data
retention policies and litigation holds.

         As to targeted marketing materials, citing to Mays’ declaration, Defendants’ brief confirms
that the “lists of borrowers to whom targeted marketing materials (i.e., mailers) were sent from
2004-2011 no longer exist, and neither do the lists of borrowers who responded to such
campaigns.” Doc. 429 at 4. Mr. Mays states that the reason this information is no longer available
is either because it was never initially retained or because the databases or systems that stored that
information have been decommissioned and the information was deleted, and there is no other
central repository of such materials. Doc. 429-9 at ¶ 26. At this stage, the factual record is not
sufficiently developed to enable the Court to determine whether the County has made a sufficient
preliminary showing of spoliation such that non-privileged information in Defendants’ litigation
hold notices should be produced. The County can explore Defendants’ ESI preservation and
collection efforts during its Rule 30(b)(6) deposition topic on this issue. Spoliation is a serious
allegation, and discovery on spoliation has the potential to completely sidetrack a litigation to the
point where more resources are spent on investigating spoliation issues than on the merits.
Moreover, in large and complex litigations, parties often bring spoliation claims in order to obtain
leverage and the much-coveted adverse jury instruction. Before this Court will permit the County
to delve into significant discovery on spoliation, a preliminary showing must be made that
documents that are relevant and proportional to the needs of the case once existed and no longer
exist, there was a duty to preserve those documents for this litigation, and that duty was breached.
That preliminary showing has not been met. The County’s motion in this regard is denied without
prejudice.

        After the 2015 amendments to the Federal Rules of Civil Procedure, no longer is mere
relevancy enough to order production. This is because relevancy at the discovery stage is much
broader than at the admissibility stage, and sweeping production decisions have the potential to
exponentially increase the costs of litigation. The proportionality concerns in this case are
significant — after more than 5 years of litigation, millions of documents exchanged, and countless
discovery disputes, the concerns with spending additional time and expense associated with
restarting certain discovery searches, conducting additional custodian searches, and delaying the
discovery schedule are substantial. Courts have broad discretion to exercise in weighing relevancy
and proportionality concerns, Washtenaw County Employees’ Retirement System v. Walgreen Co.,
2019 WL 6108220, at *6 (N.D. Ill Nov. 15, 2019), and the magistrate judge’s discretion to control
the discovery process is substantial. Jones v. City of Elkhart, Ind., 737 F.3d 1107, 1115 (7th Cir.
2013). Those proportionality concerns have been weighed here and lead the Court to conclude

                                                  5
   Case: 1:14-cv-02280 Document #: 459 Filed: 02/10/20 Page 6 of 6 PageID #:8841




that Plaintiff’s Motion to Compel [419] is granted in part and denied in part to the extent stated in
this Order. All documents ordered produced shall be completed by March 16, 2020 along with a
declaration from Defendants stating that a search has been conducted in compliance with this Order
and that all documents within their possession, custody and control have been produced.

SO ORDERED.

Dated: February 10, 2020                      __________________________
                                              Sunil R. Harjani
                                              United States Magistrate Judge




                                                 6
